Case 1:22-cv-01461-PKC Document 41 Filed 06/01/23 Page 1 of 1

MORVILLO ABRAMOWITZ GRAND IASON & ANELLO Pp. C.

Shwe oy

ELKAN ABRAMOWITZ 565 FIFTH AVENUE
RICHARD & ALBERT NEW YORK, NEW YORK IOOIl?
ROBERT J. ANELLO®

(2le) 856-9600

KATHLEEN E. CASSIDY

BCNJAMIN S FISCHER FAX: t2l2] 856-9494
CATHERINE MOFOrI

ROBERT G. MORVILLO
CHRISTOPHER @. KARWOOD www. maglaw,com é HOE ROH:

LAWRENCE tASGN wont
ERE
BRIAN A JACOGS wo det

TELEMACHUS P. KASULIS WRITER'S CONTACT INFORMATION .
KAREN R KING .

MICHAEL C. SILBERBERG
Ie et

cog SOHN. J. TIGUE, JR.

THOMAS A. MCKAY . t
ROBERT M, RADICK* cfoti@maglaw.com “% oo
JONATHAN S. SACK" 212-880-9530

*ARSO ADMOTTED IN WASMIRGTON. [Fo

EDWARD M. SPIRO
JEREMY #. TEMMIN ie wad 5 AL BG AOMTTED ON CONNES THcty

RICHARD &. WEINBERG June 1, 9023 ° io mney dé Cot? The yf ie ue

me ie oo ou TL ¢

ee

VIA ECF

Honorable P. Kevin Castel
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

RE: Roberto Mata v. Avianca, Inc, No.: 22-cv-1461 L@KC) © Oe
Teg th byt. wade ott Lt. Bn Kehr gm whe ol
Dear Judge Castel, L Lied Like ms saneete pd OF AAs - ut “f ee
ee ks bin ttf [lernd 0. G2, AOS
We represent Peter LoDuca in the above referenced matter in connection with the Order to gg
Show Cause dated May 26, 2023. (Docket Entry No. 33, the “OSC”). The OSC instructs
Mr, LoDuca as weil as Steven A. Schwartz and Levidow, Levidow & Oberman, P.C. (the “Firm”) 2 +s
to submit a written response to the OSC by June 2, 2023. On May 31, 2023, Tyler Maulsby, Pg<<-”
counsel for Mr, Schwartz and the Firm, submitted a joint request on behalf of his clients and 2
Mr. LoDuca seeking permission to file written responses to the OSC by June 6, 2023. (Docket
Entry No. 37). As this firm had only been retained by Mr. LoDuca that day, we joined in Mr.
Maulsby’s letter instead of submitting a separate letter on behalfof Mr, LoDuca, 2. be btn
fe [pp eet ee
On May 31, 2023, the Court granted Mr. Maulsby’s request for an extension of the time to Ce he (PD
file written submissions, (Docket Entry No. 38, the “Order”), The Order stated that “the time for oe
the written response of Mr. Schwartz and the Firm to the OSC is extended to June 6, 2023.” While PEA cg oan
we believe that extension applies to Mr. LoDuca a as well, we write in an abundance of caution to © ke LIED,

2023,

Thank you in advance for your consideration.

Respectfully submitted,

/s/ Catherine M. Foti
Catherine M. Foti

cc: All Counsel (via ECF)

